                           No. 23-1972

           UNITED STATES COURT OF APPEALS
               FOR THE FOURTH CIRCUIT
                    ________________

                PENINSULA PATHOLOGY ASSOCIATES,
                                       Petitioner-Appellee,
                              v.

              AMERICAN INTERNATIONAL INDUSTRIES,
                                        Respondent-Appellant.
                       ________________
      On Appeal from the United States District Court for the
     Eastern District of Virginia, No. 4:22-mc-00001-AWA-DEM
      Hon. Arenda L. Wright Allen, U.S. District Court Judge
                          ________________
             OPENING BRIEF FOR APPELLANT
                    ________________

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December 13, 2023
            CORPORATE DISCLOSURE STATEMENT

     Appellant American International Industries is a family-owned

California general partnership consisting of Glamour Industries, Inc.,

ARYZ Corp., ERX Corp., RAZY Properties, Inc., and SRYZ Corp.

     American International Industries further discloses:

     1.   American International Industries is not a publicly held
          corporation.

     2.   American International Industries does not have any parent
          corporations.

     3.   No publicly held corporation owns 10% or more of American
          International Industries’ stock.

     4.   No publicly held corporation has a direct financial interest in
          the outcome of the litigation.

     5.   No party is a trade association.

     6.   This case does not arise out of a bankruptcy proceeding.

     7.   This is not a criminal case.



Date: December 13, 2023                  /s/ Benjamin L. Hatch
                                         Benjamin L. Hatch
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                           INTRODUCTION

      While on its face this appeal concerns a discovery order, its outcome

will determine whether or not the underlying trial will proceed in a

fundamentally unfair way.

      Plaintiff Brian Gref claims that he developed the cancer

mesothelioma from using appellant American International Industries’

(“A-I-I”) cosmetic talc products which he alleges were contaminated with

trace amounts of asbestos. Gref’s experts will say that asbestos is the only

known occupational and/or environmental cause of mesothelioma in

North America.

      To support his claim that alleged asbestos in talc causes

mesothelioma, Gref wants to tell the jury that 75 other plaintiffs in other

cases developed mesothelioma when their only potential exposure to

asbestos was cosmetic talc. That is a powerful and simple argument for

a jury. But then Gref wants to prevent A-I-I from demonstrating to the

jury that this contention is false because those other plaintiffs were

exposed to asbestos from non-talc sources—what A-I-I has strong reason

to believe is the case.




                                     1
     The 75 litigation plaintiffs appear in an article written by routine

plaintiffs’ experts Dr. Theresa Emory, Dr. John Maddox, and Dr. Richard

Kradin. It’s called Malignant mesothelioma following repeated exposures

to cosmetic talc: A case series of 75 patients. JA99 (the “Emory Article” or

“Article”). The Article states that for all 75 of its litigation plaintiff

subjects, their “only known exposure to asbestos was cosmetic talc.”

JA100. But the fundamental premise of the Article appears to be false.

Although the Article’s subjects are anonymized, A-I-I has strong reason

to believe that many were exposed to asbestos from non-talc sources. For

example, one individual in the Article appears to be a plaintiff named

Illene Brick who smoked asbestos-containing cigarettes for years.

     But the anonymity of the Article’s subjects has served as a shield,

allowing plaintiffs’ attorneys to parade the Article in front of juries

without concern that it would be proven false. One asked a jury in closing

argument after discussing the Article: How many people have to die of

mesothelioma before this company will say, ‘Okay. Enough’s enough. We

admit it we did it’? JA1376-1377.

     This Article is particularly critical to the underlying litigation here

because there are no epidemiological studies of end users of cosmetic talc



                                     2
and mesothelioma. And epidemiology studies are widely recognized as

the best evidence of causation in a tort case such as this one.

     So A-I-I subpoenaed appellee Peninsula Pathology Associates

(“PPA”) for information concerning the Article, later narrowing its

request to only a list of the 75 names of the Article’s subjects. Dr. Emory

and Dr. Maddox work at PPA, and Dr. Emory was both the primary

author of the Article and the one who maintains the key that identifies

the individuals in the Article.

     The court below’s decision to grant PPA’s motion to quash was not

just wrong, it was clearly erroneous. The information sought is critical to

A-I-I’s defense. And PPA faces no meaningful burden producing a single

list of 75 names. The only “burden” the district court pointed to was vague

“ethical concerns” regarding the confidentiality of the Article’s subjects.

But the court provided no source for those concerns other than Dr.

Emory’s say-so.

     And Dr. Emory’s say-so makes no sense. The subjects of the Article

were not the authors’ patients. To the contrary, those subjects all filed

lawsuits publicly announcing that they developed mesothelioma and that

they believed exposure to cosmetic talc contributed to the development of



                                    3
that mesothelioma. So the only information A-I-I seeks is which public

litigation cases the Article considered in conducting its analysis. Further,

to the extent any legitimate concerns exist over confidentiality, there is

a simple solution routinely used in litigation: a protective order.

     PPA is a participant in the litigation with its owners and former

owners having served as experts for plaintiffs for many years. PPA may

not want the individuals identified because they do not want their made-

for-litigation opinions to be subjected to scrutiny by a jury either in Gref

and other cosmetic talc cases. But ultimately, this Court need not resolve

PPA’s motives or sort out the science of which party has the better

causation argument. The issue here is not who will prevail at trial in the

Gref case, but simply whether the information is relevant to the litigation

and whether the request is unduly burdensome. This Court can reverse

simply by recognizing (1) that the requested information is relevant to

the underlying Gref litigation and (2) that A-I-I’s narrowed request for

PPA merely to produce a single document with 75 names is not unduly

burdensome.

     This Court should reverse the decision below and require PPA to

produce the single document A-I-I has requested.



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                  JURISDICTIONAL STATEMENT

     The district court’s subject-matter jurisdiction over this ancillary

proceeding is derivative of the court in which the underlying action is

pending—here, the United States District Court for the Southern District

of New York which has diversity jurisdiction pursuant to 28 U.S.C.

§ 1332(a)(1). See McCook Metals LLC v. Alcoa, Inc., 249 F.3d 330, 334

(4th Cir. 2001). The district court issued an order granting PPA’s motion

to quash on August 14, 2023. A-I-I filed a notice of appeal on September

13, 2023.

     This Court has jurisdiction over this appeal under 28 U.S.C. § 1291

because the district court’s denial of discovery from a nonparty in an

ancillary proceeding where the underlying lawsuit is pending in another

circuit is immediately appealable as a collateral order. Nicholas v.

Wyndham Int’l, Inc., 373 F.3d 537, 541-42 (4th Cir. 2004) (“We adopt the

uniform position of the courts of appeals and hold that an order denying

discovery from a nonparty in an ancillary proceeding where the

underlying lawsuit is pending in another circuit is immediately

appealable as a collateral order.”).




                                       5
                      STATEMENT OF THE ISSUE

     Epidemiology is considered the best evidence of causation in a toxic

tort case. But there are no epidemiology studies of end users of cosmetic

talc and mesothelioma. The primary cosmetic-talc end-user study

Plaintiff Brian Gref’s medical experts rely on to fill that gap is the Emory

Article. The Article’s premise is that all 75 of its anonymous subjects

developed mesothelioma that was caused by asbestos, and their only

potential source of asbestos exposure was cosmetic talc. But A-I-I has

strong reason to believe that the Article’s fundamental premise is false

because those same individuals appear to have been exposed to asbestos

from other sources.

     To defend against Gref’s claims at trial, A-I-I seeks the production

of a single document—the names of the 75 lawsuits upon which the

Article is based. The plaintiffs in these lawsuits have already publicly

declared that they suffered from mesothelioma. The authors of the Article

used information from the lawsuits, mainly deposition transcripts, to

conduct their study.




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     The question presented is: Did the district court clearly err in

finding   that   the   burden   of   producing   a   single   nonprivileged,

nonconfidential document outweighed the Emory Article’s relevance?

                       STATEMENT OF THE CASE

I.   Plaintiff Brian Gref Sues A-I-I Over Alleged Talc Exposure.

     The softest mineral on earth, talc has been used for centuries in

countless products, including pharmaceuticals and cosmetics. A-I-I sold

a brand of cosmetic talc powder called Clubman. JA558-559. Plaintiff

Brian Gref sued A-I-I claiming that the Clubman talc he used was

contaminated with trace amounts of asbestos. JA572-578. He claimed

this exposure contributed to the development of his mesothelioma—a

cancer that can be caused by asbestos. JA99. The case is pending in the

Southern District of New York.

     A critical question in the case is causation: Does exposure to

cosmetic talc (including any alleged contaminants) cause mesothelioma?

To resolve the question of causation in toxic tort cases like this one,

parties often turn to epidemiology—the study of the patterns of diseases

and their causes in human populations. See Federal Judicial Center,

Reference Manual On Scientific Evidence 286, 551 (3d ed. 2011). Indeed,

usually “epidemiology is the best evidence of general causation in a toxic

                                      7
tort case.” Norris v. Baxter Healthcare Corp., 397 F.3d 878, 882 (10th Cir.

2005); see also, e.g., Rider v. Sandoz Pharms. Corp., 295 F.3d 1194, 1198

(11th Cir. 2002) (“[Epidemiology] is generally considered to be the best

evidence of causation in toxic tort actions.”).

      But Gref and other plaintiffs across the country in cosmetic talc

litigation had a problem. As Gref’s own expert acknowledges, there are

“no studies of the epidemiology of mesothelioma among cosmetic talc

users.” JA445. So plaintiffs’ experts decided to create “studies” of their

own for plaintiffs’ experts around to country to rely on (including Gref’s

experts here).

      This began with a paper by Gref’s expert, Dr. Jacqueline Moline—

who regularly testifies on behalf of the mass tort asbestos plaintiffs’ bar—

followed shortly afterward by the Emory Article.

II.   Dr. Moline Publishes A Case Series Of Cosmetic Talc
      Plaintiffs.

      Dr. Moline published a paper entitled Mesothelioma Associated

with the Use of Cosmetic Talc. JA106. The paper is a “case series” of 33

individuals who brought lawsuits alleging that talcum powder caused

their mesothelioma in cases where Dr. Moline served as those plaintiffs’

expert witness. JA106. It purports to be the “first large case series”


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regarding “mesothelioma in cosmetic talc users.” JA109. Dr. Moline

claims in the paper that “[t]alcum powder usage was the only source of

asbestos for all 33 cases.” JA106 (emphasis added).

     That premise is critical because Dr. Moline tells juries that

“[a]sbestos   exposure   is   the   only   known     occupational    and/or

environmental cause of mesothelioma in North America.” JA132. She

therefore points the finger squarely at cosmetic talc powder, claiming her

paper demonstrates that “[e]xposure to asbestos-contaminated talcum

powders can cause mesothelioma.” JA106.

     But in 2022, the Middle District of North Carolina revealed in a

similar cosmetic talc case against A-I-I that the fundamental premise of

Dr. Moline’s paper was false. Bell v. Am. Int’l Indus., 627 F. Supp. 3d 520,

530-32 (M.D.N.C. 2022). Dr. Moline anonymized the individuals in her

paper, making it difficult to uncover the paper’s falsity and even harder

to prove at trial. But in response to a subpoena, Dr. Moline’s employer

identified plaintiff Betty Bell as one of the individuals in Dr. Moline’s

paper.

     As it turns out, Ms. Bell had filed a workers’ compensation claim

stating under criminal penalty for false statements that she had been



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exposed to asbestos at her job. Id. at 531, 525 & n.2. After her death, her

estate filed a second claim for death benefits. Id. at 525. The Bell Court

excoriated Dr. Moline for her “concealment” of this information. Id. at

531. The court found that the inclusion of an individual with asbestos

exposures apart from allegedly contaminated talc had “direct bearing on

the study’s credibility” as it contradicted the paper’s entire foundation.

Id. at 530. It expressed grave concern about the “groundbreaking nature”

and “widespread influence” of Dr. Moline’s paper “on the cosmetic talc

litigation nationwide” given that this critical information had been

shielded from public disclosure until the Bell Opinion was issued. Id. at

530, 532.

     A-I-I has since unearthed numerous additional examples of

individuals in Dr. Moline’s paper who also appear to have been exposed

to asbestos from non-talc sources. JA524-526.

III. Dr. Emory, Dr. Maddox, And Dr. Kradin Publish A Copycat
     Article.

     Shortly after Dr. Moline published her paper, Dr. Emory, Dr.

Maddox, and Dr. Kradin published their own Article, reciting findings of

their follow-on “study” that purported to bolster Dr. Moline’s work. Their

Article—which is at the center of this appeal—is entitled Malignant


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mesothelioma following repeated exposures to cosmetic talc: A case series

of 75 patients. JA99. It was published in the American Journal of

Industrial Medicine, where Dr. Kradin is listed as a contributing editor.1

As Dr. Emory stated in her deposition, “the whole point” of the Article

was to fill the gap because there is no epidemiology connecting cosmetic

talc end users to mesothelioma. JA1025-1026.

     Like Dr. Moline, all three authors of the Article are serial plaintiffs’

experts in asbestos litigation. Dr. Maddox and Dr. Emory both work at

PPA, the appellee here. Dr. Maddox has been retained in approximately

100 litigation cases every year. JA44. Dr. Maddox recently retired from

his role, and Dr. Emory has been taking over Dr. Maddox’s litigation

work. JA44. PPA earns $400,000 to $600,000 a year for its work in

litigation, and that revenue is split among its partners. JA48-49. Dr.

Maddox used to be a partner of PPA earning around a third of that

revenue, and Dr. Emory currently is a partner. JA48-49; JA52; JA704.

     Just like Dr. Moline’s paper, the Emory Article is a case series of

individuals (this time 75) who brought lawsuits alleging that talcum



1 https://onlinelibrary.wiley.com/page/journal/10970274/homepage/edito

rialboard.html.


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powder caused their mesothelioma and where at least one of the authors

had served as a plaintiff-side expert witness. JA65.

     Two-thirds of the litigation cases came from Dr. Maddox and Dr.

Emory’s litigation work through PPA, with the remaining litigation cases

originating from Dr. Kradin’s litigation work. JA55. Dr. Emory was the

“central fulcrum” of the Article. JA58. She was its “primary author” and

maintains the key that identifies the individuals in the Article. JA104;

JA64.

     The Emory Article expressly represents multiple times that its

subjects’ “only known exposure to asbestos was cosmetic talc.” JA100; see

also JA99 (“Methods: Seventy-five individuals (64 females; 11 males)

with malignant mesothelioma, whose only known exposure to asbestos

was repeated exposures to cosmetic talcum powders.”); JA100 (“Seventy-

five subjects, whose only known exposure to asbestos was via cosmetic

talc . . .”). From this premise, the authors conclude that “cosmetic talc

may be a cause of malignant mesothelioma.” JA104.

     A-I-I has good reason to believe that, like Dr. Moline’s paper, the

premise of the Emory Article is false—i.e., that many individuals in the

Article were, in reality, exposed to non-talc sources of asbestos. In fact,



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despite the Emory Article stating that all its subjects were “additional”

to the subjects in Dr. Moline’s paper, JA100, at least one appears to

overlap between the two articles: Emory Case #72 and Moline Case #6:

                           Emory Case #72 Moline Case #6
                     BIOGRAPHICAL DATA
            Gender               Male          Male
       Year of Diagnosis         2016          2016
       Age at Diagnosis           44            43
      Mesothelioma Site        Pleural        Pleural
    Estimated Years Of Use        43            40
                   TISSUE DIGESTION DATA
             Type            Lymph Node    Lymph Node
        Concentration         17,250 f/g    17,250 f/g
      Limit of Detection       3,450 f/g     3,450 f/g

JA102-103; JA110.

     This individual appears to be Plaintiff Steven Lanzo:

                         Mr. Lanzo                Moline Case #6
  Gender                   Male                        Male
  Year of
                             2016                       2016
 Diagnosis
   Age at
                              43                         43
 Diagnosis
Mesothelioma
                           Pleural                     Pleural
    Site
 Estimated
                              40                         40
Years Of Use
                     “developed chest pain      “developed chest pain
    Factual         after playing hockey in    after playing hockey in
    Details                  2012”                      2012”




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                         Mr. Lanzo                Moline Case #6
                  “Mr. Lanzo recalled using    “Case 6 recalled using
                  the talcum powder in the        the powder in the
                    bathroom or his room,       bathroom and in his
                   and that there would be      room, and that there
                     powder on the floor.”     would be powder on his
                                                        floor.”

                    “He applied the talcum         “He applied the
                     powder to his torso,     talcum powder directly to
                     groin, legs and back,    his torso, groin, legs, and
                    often twice a day after    back, often twice a day
                         showering.”              after showering.”

                     “He recalled getting        “He recalled getting
                    mouthfuls of powder         mouthfuls of powder
                   during the application.”    during the application.”

JA108, JA110; JA1068.

     But Mr. Lanzo has documented exposure to asbestos from non-talc

sources. In his case, both his expert and the defense expert found a type

of asbestos in Mr. Lanzo’s tissue known as crocidolite, which indisputably

is not found in cosmetic talc. JA1068-1070; JA109. Mr. Lanzo also had 60

feet of exposed asbestos pipe in his basement, which was used as a family

room with a TV and couches. JA1071. And abatement records show that

hundreds of bags of asbestos were removed from several elementary,

middle, and high schools Mr. Lanzo attended, which would have been

present while he was there. JA1071.



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     Mr. Lanzo is uniquely identifiable because (1) he appears in both

the Emory Article and Dr. Moline’s paper; (2) both articles provide very

particular metrics regarding an analysis of the plaintiff’s tissue sample

(known as a tissue digestion); and (3) Dr. Moline provided an extended

description of the facts of his case in her paper.

     While others are harder to identify, it appears that additional

individuals in the Emory Article were exposed to asbestos from non-talc

sources, which another cosmetic talc defendant has pieced together.

Those include:

         Case #8 may be plaintiff Illene Brick who for years smoked
          asbestos-containing cigarettes. Dr. Kradin’s expert report
          from that case even stated that the asbestos from those
          cigarettes was a cause of her mesothelioma.

         Case #33 may be plaintiff Rosalind Henry whose medical
          records say she had asbestos exposure through her job
          cleaning Navy ships.

         Case #65 may be plaintiff Robert Blinkinsop who told his
          doctor that he believed he was exposed to asbestos through
          demolition-based construction work. A jury returned a full
          defense verdict in his case.

         Case #67 may be plaintiff Pauline Citizen, who herself
          alleged she was exposed to asbestos fibers brought home from
          her parents’ clothes at work.

         Case #75 may be plaintiff Sharon Hanson who likely was
          exposed to asbestos fibers brought home from work on her
          husband’s clothes. The court in the Hanson case granted


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           summary judgment in favor of the talc defendant, concluding
           that “causation requires a showing more than what Dr.
           Kradin offers.” Hanson v. Colgate-Palmolive Co., 2018 WL
           4686438, at *9 (S.D. Ga. Sept. 28, 2018).

Complaint ¶¶ 67-128, LTL Mgm’t LLC v. Emory, No. 23-cv-03649,

(D.N.J. July 7, 2023), ECF 1.

      Based on these examples, A-I-I has strong reason to believe that

many more of the 75 individuals in the Article were exposed to asbestos

from non-talc sources. But because those authors anonymized the

subjects in their Article, A-I-I has no way of identifying the individuals

to make this determination.

IV.   Plaintiffs’ Medical Experts Originally Rely On Both The
      Emory Article And The Moline Article.

      Gref disclosed two medical experts to testify that exposure to

asbestos in cosmetic talc causes mesothelioma—Dr. Moline and Dr.

Murray Finkelstein. JA119-498. Dr. Moline and Dr. Finkelstein

originally relied on both Dr. Moline’s own paper and the Emory Article.

JA140; JA434; JA438.

      Dr. Moline discusses her paper in her expert report: “I have recently

published a paper, along with co-authors, that describes 33 cases of

mesothelioma among individuals whose only known exposure to asbestos

was through their use of cosmetic talc (Moline et al, 2019).” JA140. And

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she goes on to discuss the Emory Article as well: “Emory et al. (2020) has

published a paper on an additional 75 individuals with mesothelioma

whose source of asbestos exposure was cosmetic talc. Together, these

papers show over 110 patients with mesothelioma and cosmetic talc use.”

JA140.

     Dr. Finkelstein also discusses the Emory Article in a section

discussing the “Human Health Effects of Talc Exposure.” JA418; JA438.

He repeats the central (false) premise that the study participants’ “only

known exposure to asbestos was repeated exposures to cosmetic talcum

powders,” and he even reproduces an image of a portion of the Article in

his report. JA438.

V.   Gref Withdraws Reliance On Dr. Moline’s Paper After A-I-I
     Seeks To Identify Its Subjects.

     A-I-I moved to compel Dr. Moline to identify the individuals in her

paper in the Southern District of New York, explaining to the court that

there are multiple “cases that appear to be ones Dr. Moline used that also

involved additional exposures to asbestos, contrary to her claims.” JA614;

see generally JA603-622. A-I-I argued that it was unfair for Dr. Moline to

“use her study offensively as reliance material then refuse to answer

questions about it.” JA615.


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      In response, Gref withdrew all reliance on Dr. Moline’s paper:

“Plaintiff withdraws his experts’ reliance on the Moline Article in this

matter . . . To be clear, neither Dr. Moline nor any of Mr. Gref’s experts

will use this article offensively in this matter.” Letter Motion to Compel

at 1, Gref v. Am. Int’l Indus., No. 1:20-cv-05589 (S.D.N.Y. May 1, 2023),

ECF 337. Gref contended that “[s]ince Plaintiff is withdrawing reliance

on the article, there can be no argument that the identity of the subjects

of the Moline Article are relevant in Mr. Gref’s lawsuit.” Id. That left the

Emory Article as the only “study” of cosmetic talc end users of any

significance in the litigation.2

VI.   A-I-I Subpoenas PPA For The Identity Of The Article’s
      Subjects.

      A-I-I issued a subpoena to PPA (located in Newport News, Virginia)

for information about the litigation files used to support the Emory




2 In response to the Bell decision, Dr. Moline published a new similar

paper in 2023 with many of the same flaws. After agreeing to withdraw
reliance on Dr. Moline’s 2020 paper, Gref attempted to add reliance on
Dr. Moline’s similar 2023 paper without leave of court even though it was
not mentioned in any Gref’s originally disclosed expert reports.
Transcript at 11:7-20, Gref, No. 1:20-cv-05589 (S.D.N.Y. May 24, 2023),
ECF No. 352; see also JA119-205; JA206-498. A-I-I has moved to strike
this improper supplement. Letter to Court at 1, Gref, No. 1:20-cv-05589
(S.D.N.Y. June 30, 2023), ECF 380.


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Article. JA10. PPA filed a motion to quash the subpoena in the Eastern

District of Virginia. While the subpoena was initially broader, A-I-I

narrowed its request to only the list identifying the 75 study participants

at the hearing on the motion to quash. JA1012 (noting that A-I-I “limited

its demand to a list of the names of the participants in the Article’s

study”); JA979.

VII. The Orders Below

     The magistrate judge (Miller, J.) issued an order granting PPA’s

motion to quash, relying on the purportedly minimal relevance of the

Emory Article and the supposed undue burden on PPA. Although the

magistrate judge acknowledged that Gref’s medical experts relied on the

Emory Article, the judge concluded that their discussion of the Article

represented a small a percentage of their overall reports. JA1017.

     The magistrate judge also believed that A-I-I could “attack the

Article’s conclusion” without identifying the individuals at issue. JA1017.

He did not state that A-I-I could otherwise demonstrate to a jury that, in

fact, those individuals were exposed to asbestos from other sources.

Rather, the magistrate judge stated that because Dr. Emory disclosed in

the Article that she is a plaintiffs’ expert, A-I-I could argue that the



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“sample of litigation subjects is poorly reflective of the universe of people

exposed to cosmetic talc.” JA1017. The magistrate judge therefore

ultimately concluded that “the information A-I-I seeks is minimally

relevant to their defense in the Gref litigation.” JA1016.

     With    respect   to    burden,     although     the   magistrate     judge

acknowledged that “A-I-I limited its demand to a list of the names of the

participants in the Article’s study,” the judge nevertheless concluded that

“compliance with A-I-I’s subpoena,” i.e., the production of a single

document, “would force Peninsula and Dr. Emory to bear heavy burdens,

both financially and professionally.” JA1018. The magistrate judge also

relied on Dr. Emory’s own statement that identifying the individuals

would violate medical ethics rules, though he did not identify any such

rules,   much   less   any   laws      requiring    confidentiality   in   these

circumstances. JA1018. Nor did the magistrate judge address A-I-I’s

proposal that the information could be disclosed pursuant to a protective

order.

     A-I-I objected to the magistrate judge’s order, and the district court

(Allen, J.) affirmed. JA1367. The district court reasoned that “the

Magistrate Judge’s conclusion regarding minimal relevance of the



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information sought by A-I-I to the Gref litigation” and “with regard to the

undue burden” was “based on a reasonable view of the evidence.” JA1369.

     A-I-I timely appealed.

                       STANDARD OF REVIEW

     “On appeal from a district court order affirming a magistrate

judge’s decision, we use the same standard used by the district court.”

United States v. First, 580 F. App’x 171, 172 (4th Cir. 2014). This Court

therefore evaluates whether the magistrate judge’s decision was “clearly

erroneous or is contrary to law.” Wall v. Rasnick, 42 F.4th 214, 217 (4th

Cir. 2022); Fed. R. Civ. P. 72(a). Reversal is appropriate if the “appellate

court has a definite and firm conviction that the court below committed

a clear error of judgment in the conclusion it reached upon a weighing of

the relevant factors.” United States v. Parris, 639 F. App’x 923, 927 (4th

Cir. 2016).

                     SUMMARY OF ARGUMENT

     A court must balance the relevance of information requested

against the burden its production would impose when determining

whether discovery is warranted. “Under Rule 45(d)(3)(A)(iv) the burden

to establish that a subpoena duces tecum imposes an undue burden is on

the person who moves to have it quashed.” Wright & Miller, Federal

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Practice and Procedure § 2463.1 (3d ed.). The analysis does not

drastically change when the information sought is from a third party,

and any “special weight” non-parties would otherwise deserve is

diminished here because of PPA and the Emory Article’s authors’

relationship to this litigation.

      Relevance. The magistrate judge erred in finding that the

identities of the individuals in the Emory Article were only “minimally

relevant” on the grounds that: (1) Gref’s experts did not devote a large

amount of space in their reports to discussing the Emory Article; and (2)

A-I-I could still adequately cross examine Gref’s experts regarding the

Emory Article. To the contrary, the information sought is critical to

opposing Gref’s causation theory.

      The amount of space a study takes up in an expert’s report is not

an accurate proxy for the importance of the study at trial. Here, the

Article is particularly critical since no epidemiological studies regarding

end users of cosmetic talc and mesothelioma exist—what’s generally

considered the “best evidence” of general causation. Norris, 397 F.3d at

882; Rider, 295 F.3d at 1198. In a similar cosmetic talc trial’s closing

argument, a plaintiffs’ counsel asked the jury of the 75 individuals in the



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Emory Article: “How many people have to die of mesothelioma before this

company will say, ‘Okay. Enough’s enough. We admit it we did it’?”

JA1376-1377.

     And the magistrate judge’s proposed cross-examination—pointing

out to the jury that the Article’s subjects are “poorly reflective of the

universe of people exposed to cosmetic talc”—misses the point. See

JA1017. The Article claims that the sole explanation for 75 people’s

mesothelioma is cosmetic talc exposure. The only truly effective cross

examination is to point out that this critical Article is based on a false

premise. Contrary to the Article’s claims, the subjects of the study seem

to have substantial non-talc exposures to asbestos that would explain

their mesotheliomas.

     Overall, the court’s below reasoning turns the discovery process on

its head. Discovery generally provides relevant information to the parties

and enables the parties themselves to assess from that information what

to advance at trial and how to advance it. Other courts agree and have

permitted subpoenas in similar situations. See, e.g., Kellington v. Bayer

Healthcare Pharms., Inc., 2016 WL 5349801, at *2 (W.D. Va. Sept. 23,

2016); Deitchman v. E.R. Squibb & Sons, Inc., 740 F.2d 556, 561-62 (7th



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Cir. 1984); Wolpin v. Philip Morris Inc., 189 F.R.D. 418, 429 (C.D. Cal.

1999); Wright v. Jeep Corp., 547 F. Supp. 871, 874 (E.D. Mich. 1982).

     Burden. On the other side of the scale, A-I-I seeks only a single list

of 75 names. The burden on PPA could not possibly be lower. The district

court identified only a single supposed “burden” on PPA: so-called

“medical ethical concerns implicated by the requested disclosure.”

JA1369-1370. But neither the magistrate judge nor the district court

provided any authority for any ethical concerns.

     Every individual in the Article is a litigation plaintiff who

voluntarily put his or her health information at issue in public

litigation—thereby waiving any confidentiality claim. The district court

did not cite any law prohibiting the release of this information because

none exists. The individuals in the Article are not the authors’ patients.

And even if the district court’s vague ethical concerns were warranted,

an easy solution exists: using a protective order.

     This Court should reverse the district court and require production

of the key identifying the subjects of the Article.




                                     24
                             ARGUMENT

     Determining whether discovery is warranted requires balancing

the relevance of the information sought against whether its production

would impose an undue burden.

     “Under Rule 45(d)(3)(A)(iv) the burden to establish that a subpoena

duces tecum imposes an undue burden is on the person who moves to

have it quashed. That person cannot rely on a mere assertion that

compliance would be burdensome and onerous without showing the

manner and extent of the burden and the injurious consequences of

insisting upon compliance with the subpoena.” Wright & Miller, Federal

Practice and Procedure § 2463.1 (3d ed.).

     The analysis does not drastically change when the information

sought is from a third party. The inquiry into the relevance and burdens

may be more “demanding and sensitive” when non-parties are at issue.

Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019). But that

just means courts look closely at the pertinent factors such as “the

requesting party’s need” for the information, “what information is

available to the requesting party from other sources,” “the dollars-and-




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cents costs associated with a large and demanding document production,”

and “confidentiality interests.” Id.

     And any “special weight” non-parties deserve generally is

diminished in the circumstances of this case. This Court reasoned that

more sensitivity is warranted towards third parties because they are

“strangers to the litigation,” who have “no dog in the fight” and have “a

different set of expectations from the parties themselves.” Id. (internal

quotation marks and brackets omitted). That rationale is attenuated

here. Though non-parties to the litigation, PPA and the Emory Article’s

authors are no strangers to it and very much have a dog in the fight. Dr.

Emory, Dr. Maddox, and Dr. Kradin earn substantial sums of money

serving as experts in cosmetic talc litigation. And as repeat-player

plaintiffs’ experts, they have every expectation of being subjected to

discovery in cosmetic talc litigation. They even authored the Article for

the very purposes of bolstering the opinions they and other plaintiffs’

experts offer.

     Moreover, to the extent PPA’s status as a third party puts a thumb

on the scale in their favor, other considerations weigh heavily on the

other side. A “district court whose only connection with a case is



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supervision of discovery ancillary to an action in another district should

be especially hesitant to pass judgment on what constitutes relevant

evidence thereunder.” Truswal Sys. Corp. v. Hydro-Air Eng’g, Inc., 813

F.2d 1207, 1211-12 (Fed. Cir. 1987) (internal quotation marks omitted).

“Where relevance is in doubt, the rule indicates that the court should be

permissive.” Id.

     Here, the information A-I-I seeks is critical, and the burden of

producing it is negligible. The Emory Article is the primary study Gref is

relying on regarding end users of cosmetic talc and mesothelioma. And

A-I-I has good reason to believe that Article is based on a false premise—

that individuals in Article were exposed to asbestos from non-talc

sources.

     At the same time, there is no burden on PPA. A-I-I seeks only a

single document representing a list of 75 names of the plaintiffs in the

Article—nothing more. Nor do any confidentiality concerns exist. That

these individuals developed mesothelioma and blamed cosmetic talc use

has already been made public in their litigation complaints. And, to the

extent PPA has legitimate apprehensions about the individuals’

confidentiality, a protective order alleviates those concerns. Neither the



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magistrate judge nor the district judge even addressed a possible

protective order, much less concluded that it would fail to resolve any

potential confidentiality issues. JA1012-1019, JA1367-1370.

     This Court should reverse the district court and require production

of the key identifying the subjects of the Article.

I.   The Information Sought Is Critical To The Gref Case.

     In no way are the identities of the plaintiffs in the Emory Article

only “minimally relevant.” To the contrary, that information is critical to

opposing Gref’s causation theory.

     Imagine a trial where an expert testified that 75 other unrelated

plaintiffs’ mesotheliomas were caused by cosmetic talc by falsely claiming

that those plaintiffs’ only exposure to asbestos was the talc. On cross-

examination, the defendant would be allowed to ask the witness, at a

bare minimum, “who are those other individuals?” and “what other

exposures did they have?” to demonstrate why the facts of those other

cases do not support the expert’s contention. The result should not

change just because those plaintiffs were packaged into a publication to

add a veneer of credibility to the claims.




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     The magistrate judge did not address any of that. Instead, he found

that the information was “minimally relevant” on primarily two bases:

(1) that Gref’s experts did not devote a large amount of space in their

reports to discussing the Emory Article; and (2) that A-I-I could still

adequately cross examine Gref’s experts regarding the Emory Article.

Neither is correct.

     The number of words attributed to a study in an expert report has

zero bearing on the importance of that study at trial. By disclosing that

they rely on the Emory Article as a basis of their opinions, Gref’s experts

may discuss the Emory Article at trial for as long as they want. Moreover,

just because Gref’s point regarding the Article does not take long to

explain does not mean it is unimportant.

     As the Bell court found, the Moline paper was groundbreaking, 627

F. Supp. 3d at 530, and the Emory Article claims to have bolstered the

Moline results. JA100. Plaintiffs use the Article to fill the gap left by the

complete dearth in epidemiological studies regarding end users of

cosmetic talc and mesothelioma—and epidemiology is the “best evidence”

of general causation. Norris, 397 F.3d at 882; Rider, 295 F.3d at 1198.

Moreover, the Article will have extra emphasis here because Gref has a



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rare type of mesothelioma of the lining of the abdomen known as

peritoneal mesothelioma, which is more weakly associated with asbestos

exposure but which some of the subjects of the Article developed. JA1175.

     In fact, in a similar cosmetic talc trial where Dr. Moline was also

an expert, the plaintiffs’ counsel highlighted the Emory Article along

with Dr. Moline’s paper in stark terms. He told the jury: “Remember the

Moline case series, the Emory case series. Over a hundred people exposed

to cosmetic talc getting mesothelioma. How many people have to die of

mesothelioma before this company will say, ‘Okay. Enough’s enough. We

admit it we did it’?” JA1376-1377 (emphasis added). He then told the jury

that the results of the Article meant that the defendant “came into th[e]

courtroom knowing that they were liable, knowing that they were guilty.”

JA1377. That the Article may not have taken up a lot of space in Dr.

Moline’s expert report is not relevant to the realities of trial.

     The magistrate judge’s second point is even weaker. The judge

concluded that A-I-I could cross-examine Gref’s experts on the Emory

Article by explaining to the jury that since Dr. Emory is a plaintiff-side

expert and the subjects of the study are litigation plaintiffs, the Article’s




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subjects are “poorly reflective of the universe of people exposed to

cosmetic talc.” JA1017.

     Put plainly: that is a weak and ineffective cross examination. No

juror would be persuaded, because it entirely misses the point. It is not

particularly relevant that other people used talc and did not get

mesothelioma. Exposure to asbestos does not invariably lead to the

mesothelioma. What matters is the Article’s claim that the sole

explanation for 75 people’s mesothelioma is cosmetic talc exposure. The

only truly effective cross examination is to point out that this critical

Article—the only study Gref’s experts rely on that they attempt pass off

as “epidemiology”—is based on a fundamentally false premise.

     Contrary to the Article’s claims, the subjects of the study seem to

have substantial non-talc exposures to asbestos that would explain their

mesotheliomas. One of the subjects of the study may very well have even

smoked asbestos-containing cigarettes, which Dr. Kradin himself

acknowledged was a source of that plaintiff’s asbestos exposure. See

supra at 15. While A-I-I has strong reason to believe these non-talc

exposures exist, there is no way to prove it to a jury if A-I-I does not know

the identity of these individuals. Nor is there any way to understand the



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full extent of the Article’s falsity beyond just the examples discussed

above without knowing who all the subjects are.

     Proving the falsity of the Article to a jury without knowing the

identities of its subjects is made even more difficult because the Article

may contain small inaccuracies in the subjects’ biographical data. For

example, Dr. Moline’s paper incorrectly lists the year of Ms. Bell’s

diagnosis (Case #9). Compare JA110 (stating Ms. Bell was diagnosed in

2016), with Bell, 627 F. Supp. 3d at 537 n.11 (explaining Ms. Bell was

actually diagnosed in 2015). And while Mr. Lanzo seems to be a subject

of both Dr. Moline’s paper and the Emory Article, the information about

his age of diagnosis and years of use differs slightly between the two.

     Regardless of how effective A-I-I’s trial counsel could potentially be

in discrediting the Article based on other sources—an inherently

speculative question—the court below’s reasoning turns the discovery

process on its head. Discovery, including third party discovery, generally

provides relevant information to the parties, and enables the parties

themselves to assess from that information what to advance at trial and

how to advance it. Provided A-I-I’s request was not unduly burdensome—

and, as narrowed, it was not—A-I-I should have been entitled to receive



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the information and evaluate for itself how best to approach cross-

examination at trial.

     The Western District of Virginia denied a motion to quash in a

similar situation. Plaintiffs’ expert Dr. Mahyar Etminan authored a

scientific article describing a supposedly statistically significant greater

reporting of intracranial hypertension from users of the medical device

Mirena. In re Mirena Ius Levonorgestrel-Related Prod. Liab. Litig. (No.

II), 341 F. Supp. 3d 213, 229 (S.D.N.Y. 2018). In the underlying litigation,

the plaintiffs’ “causation experts all rel[ied] on the Etminan Article,

which [wa]s the only article published in a peer-reviewed journal on the

topic.” Kellington v. Bayer Healthcare Pharms., Inc., 2016 WL 5349801,

at *2 (W.D. Va. Sept. 23, 2016).

     Dr. Etminan later “announced that he would no longer be serving

as an expert witness in any of the cases related to Mirena.” Id. at *1.

Contending that “the findings and conclusions in the Etminan Article

‘appear[ed] suspect,’” the defendant sought data underlying the article

and a deposition of Dr. Etiminan. Id. The court granted the request,

explaining that the “Etminan Article is important and central to the

crucial and disputed issue of causation in the case.” Id. at *2. Less than



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a month later in response to the deposition notice, Dr. Etiminan signed a

“sworn affidavit retracting many of his study’s findings.” In re Mirena,

341 F. Supp. 3d at 232.

     Other courts have held similarly. The Seventh Circuit permitted a

subpoena for the underlying data of an article relied on by plaintiffs’

experts because the defendant was “threatened” with having the article’s

author effectively serve “as a potent expert witness against it without his

ever taking the stand or being subject to cross-examination.” See

Deitchman v. E.R. Squibb & Sons, Inc., 740 F.2d 556, 561-62 (7th Cir.

1984). The Court explained that the defendant was “entitled to cross-

examine plaintiffs’ experts on the data underlying their opinions” and the

author was the only one with that data. Id.; see also, e.g., Wolpin v. Philip

Morris Inc., 189 F.R.D. 418, 429 (C.D. Cal. 1999) (“Obtaining this

information [will] assist defendant in determining the validity of the . . .

study results and thereby will allow for a thorough inquiry into the

underpinnings of the scientific evidence presented at trial.” ); Wright v.

Jeep Corp., 547 F. Supp. 871, 874 (E.D. Mich. 1982) (“So if the conclusions

or end product of a research effort is to be fairly tested, the underlying

data must be available to others equally skilled and perceptive.”).



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      The magistrate judge clearly erred by finding that a list of lawsuits

was only “minimally relevant.” Being able to discuss with Gref’s

causation experts what was really at issue in those 75 lawsuits is crucial

to A-I-I’s defense of Gref’s claim that Clubman talcum powder

contributed to the development of his peritoneal mesothelioma.

II.   Producing A List Of Names Imposes No Burden On PPA.

      On the other side of the scales, A-I-I seeks only a single list of 75

names. The burden on PPA could not possibly be lower. Dr. Maddox

stated that his “key that matches up each of the 75 cases reported in the

article with the name of the plaintiff in the litigation” was “relinquished”

to Dr. Emory. JA64. Sending that key to PPA to comply with the

subpoena takes the burden of only a few mouse clicks. And it is

information that is not “available to the requesting party from other

sources.” Jordan, 921 F.3d at 189.

      The district court identified only a single supposed “burden” on

PPA: so-called “medical ethical concerns implicated by the requested

disclosure.” JA1369-1370. But neither the magistrate judge nor the

district court provided any authority whatsoever for any ethical concerns.

That’s because there are none.



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     Every individual in the Article is a litigation plaintiff who

voluntarily put his or her health information at issue in public litigation.

All filed public complaints announcing that they developed mesothelioma

and claiming that their condition was caused by cosmetic talc. The

information A-I-I seeks is exactly what has already been made public. See

Bell, 627 F. Supp. 3d at 537 (explaining that the plaintiffs in Dr. Moline’s

paper “chose to publicly expose the fact of [their] mesothelioma by filing

a complaint”).

     Dr. Emory and her co-authors received information on these cases

in their role as expert witnesses in lawsuits, not as physicians. The

plaintiffs in those lawsuits put their medical conditions at issue in

litigation and therefore waived any confidentiality claims relating to

those conditions. See, e.g., Helsabeck v. Fabyanic, 173 F. App’x 251, 257

(4th Cir. 2006) (“Helsabeck waived the [physician-patient] privilege by

putting his medical condition at issue. . . .”). Nor could the individuals

have any expectation of privacy, since the authors of the Emory Article

did not even seek their subjects’ consent before publishing the Article.

JA104.




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     The district court cited no law prohibiting the release of this

information because none exists. HIPAA (the Health Insurance

Portability and Accountability Act of 1996) does not apply. The

individuals in the Article are not the authors’ patients. HIPAA only

regulates the release of “protected health information” by specific

“covered   entities,”   which   include    health   plans,    health   care

clearinghouses, and certain health care providers. 45 C.F.R. § 160.103.

“Covered entities” do not include plaintiffs’ experts in personal injury

actions or their medical-legal consulting groups. And as discussed above,

any HIPAA confidentiality would have been waived by anyone who put

their medical condition at issue in litigation. Bell, 627 F. Supp. 3d at 535

(discussing the plaintiff’s concession that the names of Dr. Moline’s study

subjects were “not HIPAA protected”).

     Finally, even if the district court’s vague ethical concerns were

warranted, an easy solution exists: a protective order. See JA983 (counsel

for A-I-I suggesting this solution to cure any privilege concerns). Indeed,

protective orders are used even in cases implicating legitimate claims of

privilege. In re Am. Tobacco Co., 880 F.2d 1520 (2d Cir. 1989) (applying

a protective order to preserve physician-patient privilege concerns).



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Neither the magistrate judge nor the district court even addressed this

simple option.3

                                   ***

     Gref wants to use the Emory Article in front of the jury to bolster

his claim that exposure to cosmetic talc causes mesothelioma. But he is

not willing to allow the Article to be subjected to the scrutiny of a

meaningful cross examination. That is fundamentally unfair. As the Bell

Court explained, allowing such testimony runs the risk of misleading the

factfinder and court. 627 F. Supp. 3d at 530-31.

     The magistrate judge got both sides of the equation wrong. On

relevance, the identities of the individuals in the Article are critical. On

burden, producing a single list of 75 names is effortless, and no

confidentiality or ethical concerns exist. Having misapprehended each

side of the scale, the magistrate judge necessarily balanced the two

improperly. That balance weighs decidedly in favor of PPA producing the

list of names.


3 To the extent that the Court has concerns about HIPAA, there is an

express exception for producing protected health information in response
to a subpoena when there is “a qualified protective order.” 45 C.F.R.
§ 164.512(e)(1)(ii)(B); see also Tarashuk v. Orangeburg County, 2022 WL
473231, at *4 (D.S.C. Feb. 15, 2022).


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                              CONCLUSION

     This Court should reverse the decision of the district court and

require the production of the list of the individuals in the Emory Article.



                  LOCAL RULE 34(a) STATEMENT

     Pursuant to Local Rule 34(a), A-I-I respectfully requests oral

argument. Oral argument would assist the Court so it can consider the

important questions critical to not just the Gref case, but to the cosmetic

talc litigation nationwide.

                                           Respectfully submitted,

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December 13, 2023




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                   CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limitation of Federal Rule

of Appellate Procedure 32(a)(7)(B), because it contains 7,471 words,

excluding the parts of the brief exempt by Federal Rule of Appellate

Procedure 32(f).

     This brief complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirements of

Federal Rule of Appellate Procedure 32(a)(6), because it has been

prepared in a proportionally spaced typeface (14-point Century

Schoolbook) using Microsoft Word 365 ProPlus.

Date: December 13, 2023

                                       /s/ Benjamin L. Hatch
                                       Benjamin L. Hatch
                                       Counsel for Appellant American
                                       International Industries




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                     CERTIFICATE OF SERVICE

     This is to certify that I have this December 20, 2023, electronically

filed the foregoing with the Clerk of Court using the CM/ECF system,

which will notify all registered counsel.



                                         /s/ Benjamin L. Hatch
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                                         International Industries




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